                       Case 2:23-cr-00163-TC Document 6 Filed 04/11/23 PageID.91 Page 1 of 1
AO 442 (Rev. I i l l I) Arrest Warrant



                                            UNITED STATES DISTRICT COURT
                                                                        for the
                                                               District of Utah

                    United States of America
                                    v.                                    )
                                                                          )       Case No.     2:23-mj-00317 PK
                                                                          )
                                                                          )
                                                                          )
                  JAVIER CATALAN BAHENA
                                                                          )
                                Defeudant


                                                          ARREST WARRANT
To:        Any authorized law enforcement officer

           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(11ame ofperson to be arrested)          JAVIER CATALAN BAHENA
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment                 O Superseding Indictment          CJ Information         O Superseding Information               I!{ Complaint
0 Probation Violation Petition                 O Supervised Release Violation Petition          CJ Violation Notice O Order of the Court

This offense is briefly described as follows:
  18 U.S.C. § 922(9)(5)- alien in possession of a firearm.




Date:           04/07/2023



City and state:          Salt Lake City, UT
                                          ·..c.__ _ _ _ _ _"                                 Magistrate Judge Paul Kohler
                                                                                                   Printed name and title


                                                                    Return

          This warrant was received on (date)          LJ '7 - 2   :>         , and the person was arrested on (date)         4-11- 2 3
at (city and state)


Date: C?V- I <(- Zo-z. 3,                                                         ~               _./L
                                                                                                     =-------
                                                                                                Arresting officer ·s signature


                                                                                                  AT£_ __
                                                                                                   Pri11ted name a11d title
